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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


NATIVE ECOSYSTEMS COUNCIL;                )
ALLIANCE FOR THE WILD                     ) Case No. 9:23-cv-00112-DLC
ROCKIES,                                  )
                                          )
      Plaintiffs,                         ) SETTLEMENT AGREEMENT
                                          )
             v.                           )
                                          )
EMILY PLATT, in her official              )
capacity as National Forest Supervisor;   )
KEITH LANNOM, in his official             )
capacity as Deputy Regional Forester;     )
UNITED STATES FOREST                      )
SERVICE; UNITED STATES FISH &             )
WILDLIFE SERVICE,                         )
                                          )
      Defendants.                         )
                                          )
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       This Settlement Agreement (“Agreement”) is entered into by and between

Plaintiffs Native Ecosystems Council and Alliance for the Wild Rockies

(“Plaintiffs”) and Defendants Emily Platt, in her official capacity as National

Forest Supervisor, Keith Lannom, in his official capacity as Deputy Regional

Forester, the United States Forest Service, and the United States Fish & Wildlife

Service (“Defendants”).

       The Parties, by and through their undersigned counsel, state as follows:

       WHEREAS, Plaintiffs’ lawsuit alleges violations of the Administrative

Procedure Act, National Environmental Policy Act, the National Forest

Management Act, and the Endangered Species Act, stemming from approval of the

Middleman Project;

       WHEREAS, the Parties have engaged in good faith settlement negotiations

in an effort to avoid the time and expense of further litigation;

       WHEREAS, the Parties believe therefore that it is in the interests of the

Parties and judicial economy to resolve the claims in this action without additional

litigation;

       NOW THEREFORE, it is agreed to by the Parties as follows:

1.     Middleman Project:

       a.       The Forest Service remains free to implement the following

                components of the Middleman Project: activities under the Crouching


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         Trout Timber Sale, including approximately 4.1 miles of temporary

         road construction and approximately 20.82 miles of road

         reconstruction; all pre-commercial thinning authorized by the

         Middleman Project; all prescribed burning authorized by the

         Middleman Project except as limited by paragraph 1.c.; and all other

         non-commercial activities authorized by the decision.

b.       The Forest Service agrees to forego commercial timber harvest

         authorized under the Middleman Project except the treatments and

         associated timber sale activities included in the Crouching Trout

         Timber Sale contract. The Forest Service agrees to forego the

         remainder (other than the Crouching Trout temporary road

         construction and road reconstruction discussed in paragraph 1.a.) of

         the temporary road construction and road reconstruction authorized

         under the Middleman Project decision, amounting to approximately

         41.9 miles of temporary road construction and 69 miles of road

         reconstruction.

c.       The Forest Service agrees to limit prescribed burning in Inventoried

         Roadless Areas authorized under the Project to no more than 25

         percent of any such area.




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       d.       The Forest Service agrees to provide Plaintiffs with an annual

                summary of prescribed burning in Inventoried Roadless Areas under

                the Middleman Project, including units where burning has occurred

                and the acres burned.

2.     Attorneys’ Fees and Costs. Defendants agree to pay, and Plaintiffs agree to

accept, the lump sum of thirty-nine thousand dollars ($39,000) in full and complete

satisfaction of any and all claims, demands, rights, and causes of action pursuant to

the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412(d), and/or any other

statute and/or common law theory, for all attorneys’ fees, costs, and expenses

incurred by Plaintiffs in this litigation.

       a.       Defendants’ payment, as identified in Paragraph 2, shall be

                accomplished by electronic funds transfer into the client trust account

                for Plaintiffs. Within 10 days of execution of this Settlement

                Agreement, Plaintiffs will provide Defendants with the necessary

                account information to effectuate this payment.

       b.       Defendants agree to make all reasonable efforts to submit all

                necessary paperwork to the appropriate funding authorities at the

                Department of Agriculture within fourteen (14) days of final

                execution of the Settlement Agreement or receipt of payment

                information under Paragraph 2.a., whichever is later.


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      c.       Plaintiffs agree to send confirmation of the receipt of the payment to

               counsel for Defendants within 14 days of such payment.

      d.       Except for the obligations specifically required under this Settlement

               Agreement, Plaintiffs agree to hold harmless the Defendants in any

               litigation, further suit, or claim arising from the payment of the

               agreed-upon $39,000.00 settlement amount, including any claims that

               may arise as to any apportionment of the payment amount to Plaintiffs

               and Plaintiffs’ counsel.

      e.       Plaintiffs acknowledge that under 31 U.S.C. §§ 3711, 3716, 26 U.S.C.

               § 6402(d), 31 C.F.R. §§ 285.5, 901.3, and other authorities, the United

               States will offset against the attorney fee award Plaintiffs’ delinquent

               debts to the United States, if any. See Astrue v. Ratliff, 560 U.S. 586

               (2010).

3.    Dismissal. Within seven (7) days after Plaintiffs receive the attorneys’ fees

agreed to in Paragraph 2, Plaintiffs will voluntarily dismiss this action. The Court

will retain jurisdiction only to oversee compliance with the terms of this

Agreement and any motion to modify its terms. See Kokkonen v. Guardian Life

Ins. Co. of Am., 511 U.S. 375 (1994).

4.    Modification of Agreement. This Settlement Agreement may be modified

by the Court upon good cause shown (i) by written stipulation between the Parties


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filed with and approved by the Court, or (ii) upon written motion filed by one of

the Parties pursuant to Paragraph 10 and granted by the Court. In the event that

either Party seeks to modify the terms of this Settlement Agreement, or in the event

of a disagreement between the Parties concerning any aspect of this Settlement

Agreement, or in the event that either Party believes that the other Party has failed

to comply with any term or condition of this Settlement Agreement, the Party

seeking the modification, raising the dispute, or seeking enforcement shall provide

the other Party with written notice of the claim. The Parties agree that they will

meet and confer (telephonically or in-person) at the earliest possible time in a

good-faith effort to resolve the claim before seeking relief from the Court. If the

Parties are unable to resolve the claim themselves after 21 calendar days following

receipt of a written notice or such longer time agreed to by the Parties, either Party

may seek relief from the Court. In the event that Plaintiffs believe that Defendant

has failed to comply with a term of this Settlement Agreement, and after

completing the notice and informal resolution process described above, Plaintiffs

may move to enforce the terms of this Settlement Agreement. This Settlement

Agreement shall not be enforceable through a proceeding for contempt of Court.

5.    No Precedential Value. This Settlement Agreement does not represent an

admission by Plaintiffs or Defendants to any fact, claim, or defense in any issue in




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this lawsuit. This Settlement Agreement has no precedential value and shall not be

used as evidence of such in any other matter.

6.     Sole and Final Agreement. This Settlement Agreement contains all of the

agreements between Plaintiffs and Defendants, and is the final and sole agreement

between the Parties concerning the complete and final resolution of Plaintiffs’

claims. The terms of this agreement shall become effective upon final execution.

7.     Representative Authority. The undersigned representatives of the Plaintiffs

and Defendants certify that they are fully authorized by the party or parties whom

they represent to enter into the terms and conditions of this Settlement Agreement

and to legally bind the parties to it.

8.     Effective Date. The terms of this Agreement shall become effective upon

final execution. The Parties agree that this Agreement may be executed in one or

more counterparts, each of which shall constitute an original, and all of which,

taken together, shall constitute the same instrument. Facsimile or scanned

signatures submitted by electronic mail shall have the same effect as an original

signature in binding the parties.

9.     Compliance with Other Laws. Nothing in this Settlement Agreement shall

be interpreted as, or shall constitute, a commitment or requirement that Defendant

obligate or pay funds, or take any other actions in contravention of the Anti-

Deficiency Act, 31 U.S.C. § 1341, or any other applicable law. Nothing in this


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Settlement Agreement shall be construed to deprive a federal official of authority

to revise, amend or promulgate regulations, or to amend ore revise land and

resource management plans. Nor shall anything in this agreement deprive a federal

official of authority to make a new decision, subject to all applicable law, with

regard to the actions foregone in paragraph 1.b. Nothing in this agreement shall

prohibit Plaintiffs from bringing a new lawsuit to challenge any such decision.

10.   Force Majeure. The Parties understand that notwithstanding their efforts to

comply with the commitments contained herein, events beyond their control may

prevent or delay such compliance. Such events may include natural disasters as

well as unavoidable legal barriers or restraints, including those arising from actions

of persons or entities that are not party to this Settlement Agreement. A Party is

entitled to delay or forego actions under this Settlement Agreement due to events

beyond their control, but force majeure shall not continue beyond the

circumstances and conditions that prevent timely performance, and shall not apply

if alternative means of compliance are available. The Party claiming force majeure

shall have the burden of proof in proceedings to enforce or modify the Settlement

Agreement.

      IT IS HEREBY AGREED.
      Dated: April 16, 2024.

                                 /s/  Rebecca K. Smith (with permission)
                                 Rebecca K. Smith
                                 PUBLIC INTEREST DEFENSE CENTER, PC
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